 Case 2:12-cr-20099-KHV        Document 275       Filed 11/19/15     Page 1 of 4




                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,           )
                                    )
                        Plaintiff,  )                     CRIMINAL ACTION
                                    )
v.                                  )                     No. 12-20099-01-KHV
                                    )
MENDY READ-FORBES,                  )
                                    )
                        Defendant. )
____________________________________)

                              MEMORANDUM AND ORDER

        On September 24, 2015, defendant filed a Motion Under 28 U.S.C. § 2255 To Vacate, Set

Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #255). On October 19, 2015,

the Court overruled defendant’s motion to recuse the undersigned judge, defendant’s motion to

appoint counsel and for bond release and defendant’s motion for immediate release.         See

Memorandum And Order (Doc. #262). Defendant has filed several appeals which challenge those

rulings.1   This matter is before the Court on defendant’s Application To Proceed Without

Prepayment Of Fees And Affidavit By A Prisoner (Doc. #272) filed October 29, 2015 and the

government’s Motion To Suspend Government’s Response to Defendant’s 2255 Motion Pending

Appeal (Doc. #274) filed November 17, 2015. For reasons stated below, the Court overrules

defendant’s motion to proceed without prepayment of fees and sustains the government’s motion

to stay deadlines.


        1
               See Appeal From The Denial By The District Court To Recuse Judge Vratil For
Judicial Bias (Doc. #264) filed October 22, 2015; Emergency Appeal From District Court’s Denial
Of Motion For The Immediate Release Of Mendy Read-Forbes (Doc. #265) filed October 22, 2015;
Addendum To Defendant’s Appeals (Doc. #269) filed October 26, 2015 (rulings on motion to
recuse, appointment of counsel and immediate release); Appeal From The Denial By The District
Court To Appoint Defendant Legal Counsel For Her 2255 Motion (Doc. #270) filed October 26,
2015.
 Case 2:12-cr-20099-KHV           Document 275         Filed 11/19/15      Page 2 of 4




I.     Motion To Appeal Without Prepayment Of Fees

       Under Rule 24(a), Fed. R. App. P., defendant financially qualifies for in forma pauperis

status. Under Rule 24(a)(1)(C), however, defendant’s motion must state the issues which she

intends to appeal. Rule 24(a) requires such a statement because the district court will deny in forma

pauperis status if it determines that the appeal is not taken in good faith. See Fed. R. App.

P. 24(a)(3)(A). Good faith is an objective standard measured by whether the appeal is “frivolous”

or lacks a “rational argument on the law or facts.” See Coppedge v. United States, 369 U.S. 438,

448 (1962). Defendant’s notices of appeal related to the Court’s ruling on recusal and appointment

of counsel appear to be improper interlocutory appeals.2 In any event, as to all three issues which

defendant raises on appeal, the Court finds that her appeal is not made in good faith. See

Memorandum And Order (Doc. #262).3 The Court therefore overrules defendant’s motion to


       2
               Judicial proceedings related to a motion to vacate a criminal sentence under 28
U.S.C. § 2555 are generally considered part of a separate “civil action.” Even so, Section 2255
proceedings remain part of the underlying criminal prosecution. United States v. Bergman, 746 F.3d
1128, 1130 (10th Cir. 2014). Whether Section 2255 proceedings are considered civil or criminal
for purposes of appeal, defendant does not cite any authority to immediately appeal the Court’s
rulings on recusal and appointment of counsel. As a civil action, an appeal is not proper because
the Court has not certified that its order “involves a controlling question of law as to which there is
substantial ground for difference of opinion and that an immediate appeal from the order may
materially advance the ultimate termination of the litigation.” 28 U.S.C. § 1292(b). As a criminal
action, an appeal is not proper because defendant has not shown that she seeks to vindicate a right
which would be totally lost if an appeal occurred after final judgment. United States v. Levy, 947
F.2d 1032, 1034 (2d Cir. 1991) (interlocutory appeals in criminal cases disfavored and recognized
as exceptions to final judgment rule only in limited circumstances where right sought to be
vindicated would be totally lost if appeal occurred only after final judgment).
       3
               In particular, on the issue of release pending the Court’s ruling on defendant’s
Section 2255 motion, defendant has not shown a rational argument for release on the law or the
facts. The Court has inherent power to release a defendant pending a ruling on a habeas petition.
Pfaff v. Wells, 648 F.2d 689, 693 (10th Cir. 1981). To obtain release, defendant must show
“exceptional circumstances” or a “clear case on the merits” of her petition. United States v.
                                                                                   (continued...)

                                                 -2-
 Case 2:12-cr-20099-KHV          Document 275         Filed 11/19/15      Page 3 of 4




proceed in forma pauperis.

II.    Motion To Suspend Briefing Deadlines

       Normally, an interlocutory appeal divests the district court of jurisdiction to hear any matter

related to the appeal. Stewart v. Donges, 915 F .2d 572, 576 (10th Cir. 1990). Out of an abundance

of caution, the Court stays briefing on defendant’s Section 2255 motion. The Court also sustains

the government’s Motion To Suspend Government’s Response to Defendant’s 2255 Motion Pending

Appeal (Doc. #274). Within 30 days of the Tenth Circuit’s final order on defendant’s appeal

No. 15-3260, the government shall file a response to defendant’s Motion Under 28 U.S.C. § 2255

To Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody (Doc. #255). Within

45 days of the filing of the government’s response, defendant may file a reply.

       IT IS THEREFORE ORDERED that defendant’s Application To Proceed Without

Prepayment Of Fees And Affidavit by A Prisoner (Doc. #272) filed October 29, 2015 be and hereby

is OVERRULED.

       IT IS FURTHER ORDERED that government’s Motion To Suspend Government’s

Response to Defendant’s 2255 Motion Pending Appeal (Doc. #274) filed November 17, 2015 be and

hereby is SUSTAINED. Within 30 days of the Tenth Circuit’s final order on defendant’s

appeal No. 15-3260, the government shall file a response to defendant’s Motion Under 28



       3
         (...continued)
Palermo, 191 F. App’x 812, 813 (10th Cir. 2006); Pfaff, 648 F.2d at 693. As the Court noted in its
prior order, defendant has not shown exceptional circumstances which would justify release after
serving some six months of a 240-month prison term. In addition, defendant has not demonstrated
a clear case on the merits. The Court therefore finds that defendant’s appeal on this issue is not in
good faith. See Palermo, 191 F. App’x at 813 (defendant did not show exceptional circumstances
based on health problems, significant delay in processing Section 2255 motion, and being on verge
of transfer from prison to halfway house).

                                                -3-
 Case 2:12-cr-20099-KHV         Document 275        Filed 11/19/15       Page 4 of 4




U.S.C. § 2255 To Vacate, Set Aside, Or Correct Sentence By A Person In Federal Custody

(Doc. #255). Within 45 days of the filing of the government’s response, defendant may file a

reply.

         Dated this 19th day of November, 2015 at Kansas City, Kansas.

                                                    s/ Kathryn H. Vratil
                                                    KATHRYN H. VRATIL
                                                    United States District Judge




                                              -4-
